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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF ILLINOIS

Jennifer A. Dunkley, )

)

Plaintiff, )

)

v. ) Case No. 3:18-C V-2189-DWD

)

AFSCME Local 2600 and Illinois )
Department of Human Services, and

Kimberly Peltes, and Monica Monroy )

)

Defendants. )

NOTICE OF APPEAL FOR MONROY AND PELTES
Notice is hereby given that Plaintiff, Jennifer Dunkley, in the above named case,” hereby appeal

to the United States 7th Circuit Court of Appeals for Defendants Monroy and Peltes' motion for

summary judgment (Doc. 191 ). ORDER entered in this action on the October 5, 2021.

(Doc. 220)

Jennifer Dunkley, Plaintiff

 
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CERTIFICATE OF SERVICE

I hereby certify that on October 7, 2021, I filed the foregoing NOTICE OF APPEAL FOR

MONROY AND PELTES with the Clerk of the Court. I hereby further certify that on October 7,

2021. I mailed by United States Postal Service the same document to the following registered

participant:

Jennifer Dunkley

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Greenville, IL 62246
(618)664-7343

Email: Jennifer.dunkley@gmail.com

Jennifer Dunkley, Plaintiff

ated: Octgber 7, 2021 c

Melissa J. Auerbach

Lead Counsel,

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